CaSe 06-90460-.]|\/| Filed 05/18/07 Entered 05/18/07 14221:33 DOC 11 PQ. l Of 2
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Nam@, Address, ”;?elephone No. & §.D. No.

Timothy J. Silverman, Bar No. 145264

Pamela LaBruy@ro, Bar No. 159233

So§omon, Grindle, Silverman & Spinella, APC
12651 High Eluff Driv@, Suit@ 300

San Diego, CA 92130

{858) 793#8500

 

UNI'I'ED STA‘I*ES BANKRUP‘I'CY COURT
SoUTHERN DIESTRICT oF CALL:~“oRN:A

325 Wes=; 'F`” St:reet:, Ee'm Di@go, Cali§ornia 92101-6991

h Re NAOMI DYE~CHEN aka NAOMI CHEN

 

BANKRUPTCY NO.
Debto:. OSWOQQOU-JMV

SCOTT M. F`OREMAN
ADVERSARY No.

Plajn;ij =Sf( ) 06"~9046@-JM

v.
NAOMI DYE~CHEN aka NAOMI CHEN

Def@§zdants {S)

 

 

NOT}CE OF HEARING AND ]VIOTION

TO: Defendant Naomi Dye-Chen aka Naomi Chen and her attorney of record:

Y()U ARE HEREBY NOTIFIED that on June 2 2 , 2 0 0 `"/"

>

at 10 : 00 a .m., in Departmem One , Room 2 18 , of`the lamb Weinberger limited States
Courthouse, located at 325 West "F" Street, Sau Diego, Califor;lia 92101~6991, there Will be a hearing regarding the motion of
Plaintiff, Scott M Foreman ,for

 

Motion for leave to File l~“irst mond@d Complaint to Determine Dischargeability
c:)f Bebt.

Aoy opposition or other response to this motion most be Served upon lhe undersigned and the original and one copy of
Such papers With proof of Service must be filed Wi.th the Clerk of the U.S, Bankz"uptcy Court al 325 West "F" Streot, San Diego,
Cahforn‘ia 921(}1-6991, NOT LATER THAN FOURTEEN (14)" DAYS PROM 'i`HE DATE OF SERVIC`E.

%M Czé")°…""“

§Attomey for] ]Moving Pa:iy
Pamela La`Bruyore, ESq.

DATED: May 17 , 2007

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l:: you wore served electronicaliy or by mall{ you nave three (JB adoz.t;zonal days I;o coke the anov@'stal:eo. act;ozzs.

CSD 3015 csooowe

 

 

 

 

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CERTIFICATE OF SERVICE

l, the undersigned Whose address appears below, certify:

 

'leat 1 ani, and at ali times hereinafter mentioned Was, more than ES years or`age;

Thnt on § § day of May, 2007 , l Seryed a true copy of die within NOT§CE OF

MOTION AND }§"lEARl`NG by [deseri.be here mode of service}
§irsl: Class Mail, linith S_i:at:es Poet:al Servic:e,

on the following persons E:Set forth name end address of each person nerved§ and as elieclced belowz
!,2

_X] Attorney l`or §)eb¥.'or (ifreqnired):

Juo'lil:`n A. Desca.lso, H.Sq.
960 Ca.n.i;e_=rbury Place, Soit:e 340
Escondid.o, CA 92025

 

     
  
 

I certify under penalty of perjury that the foregoing is true and colj~tre

Execn£ed on Mav § g , 2 007 !*'E":“' '
(Date) ('l"yped Naine and Signature)
Missy KreSl
Solomon, Grindle. Silv@rma. & Soiner a
(Address) "
12 651 High Blufi? Drive, Su:'tt 3 00
San Di@oo, CA 92130

(City, State, Z}fl’ Code)
CSD 3015

 

